Published Order Reinstating Respondent to the Practice of LawOn February 5, 2018, the Indiana Supreme Court Disciplinary Commission filed a "Petition for Suspension of Attorney for Failure to Satisfy Costs Ordered in *233Connection with Certain Proceedings under Indiana Admission and Discipline Rule 23," asserting that Respondent failed to pay costs assessed in a disciplinary action by the due date of the attorney's annual registration fee (October 1), in violation of the requirements of Indiana Admission and Discipline Rules 23 (10.1)(d) or 23(21), and Respondent is therefore subject to suspension under Admission and Discipline Rule 2(h).On April 12, 2018, this Court entered an order suspending Respondent from the practice of law in Indiana, effective ten days after the order was entered. Respondent now files a petition for reinstatement, reporting that he has paid in full the amount owed in unpaid costs and the $200 reinstatement fee owed under Admission and Discipline Rules 2(h)(5), 23 (10.1)(d), and 23(21)(d).Being duly advised, the Court GRANTS the petition and REINSTATES Respondent to the practice of law in Indiana effective immediately.